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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:20-cv-2768

  STATE OF COLORADO;
  JENA GRISWOLD, Colorado Secretary of State,

        Plaintiffs,

  v.

  LOUIS DEJOY, in his official capacity as Postmaster General;
  SAMARN S. REED, in his official capacity as the Denver, Colorado
  Regional Postmaster;
  CHRIS J. YAZZIE, in his official capacity as the Albuquerque, New
  Mexico Regional Postmaster;
  UNITED STATES POSTAL SERVICE,

        Defendants.

                               COMPLAINT

  Plaintiffs State of Colorado and Jena Griswold allege as follows:
        1.    The United States Postal Service (“Postal Service”) intends to
  mail an official notice to all Colorado voters that provides false
  statements about voting in Colorado. These false statements will

  disenfranchise Colorado voters, including its uniform military and
  overseas voters; mislead them about Colorado’s election procedures;
  infringe Colorado’s Constitutional rights to conduct its elections; and
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  interfere with the Secretary of State’s ability to oversee Colorado
  elections. These false statements will confuse Colorado voters, likely

  causing otherwise-eligible voters to wrongly believe that they may not
  participate in the upcoming election. This attempt at voter suppression
  violates the United States Constitution and federal statutes and must be
  stopped immediately.
        2.    Plaintiffs file a motion for a Temporary Restraining Order at
  the same time as this Complaint.

        3.    The Postal Service, operating under Postmaster General
  Louis DeJoy, plans to send the following official notice to voters across
  Colorado.
        4.    This official notice has been received by voters in other states,
  but Colorado understands from conversations with the Postal Service
  that this notice will be delivered throughout Colorado early next week
  absent court intervention. Colorado understands that some voters in
  limited areas of Colorado may have received this official notice, or may
  receive it on Saturday, September 12.




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        5.   This official notice contains several false statements about

  voting in Colorado.
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        6.   The third bullet point—“Request your mail-in ballot (often
  called ‘absentee’ ballot at least 15 days before Election Day”—is false for

  several reasons. First, Colorado voters do not need to make any request
  to receive their ballot—all registered Colorado voters receive a ballot at
  the mailing address on file with election officials. Second, Colorado voters
  who do not have a ballot—either because they have moved and not
  updated their address, the Postal Service loses their ballot, or they
  received a ballot and misplaced it—can vote in person and request a

  replacement ballot closer than 15 days to election day. Third, Colorado
  ballots are not “mail-in ballot[s].” While voters may return voted ballots
  by mail, they instead may return them to voter service polling centers
  staffed by local election officials or place them in one of many
  conveniently located, secure drop-boxes. A voter who receives a mail
  ballot also may elect to instead vote in-person at a voter service and
  polling center.
        7.   The fifth bullet point—“We recommend you mail your ballot
  at least 7 days before Election Day”—is false. Colorado voters do not need
  to mail their ballot to vote at all. Colorado voters may elect to instead
  vote in-person, return their voted ballots to voter service polling centers
  staffed by local election officials, or place them in one of many
  conveniently located, secure drop-boxes.
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                       JURISDICTION AND VENUE
        8.    The Court has jurisdiction over this lawsuit pursuant to 28
  U.S.C. § 1331 (federal question) and 39 U.S.C. § 409 (suits against the
  Postal Service). The Court has jurisdiction to award the relief requested
  pursuant to 28 U.S.C. § 1361 (mandamus) and 28 U.S.C. § 2201
  (declaratory relief and further relief).
        9.    Venue in this district is proper under 28 U.S.C. §§ 1391(b)(2)

  and 1391(e)(1).
        10.   Defendants are United States agencies or officers sued in
  their official capacities. The State of Colorado and Secretary Griswold are
  residents of this judicial district, and a substantial part of the events or
  omissions giving rise to this Complaint occurred or will imminently occur
  within this district. In particular, on information and belief, the Postal
  Service has this official notice on pallets at its distribution centers in
  Colorado and New Mexico (and perhaps other adjoining states) and
  intends to deliver this official notice to Colorado voters imminently.

                                   PARTIES
        11.   Plaintiff the State of Colorado is a sovereign state of the
  United States of America. This action is brought on behalf of the State of
  Colorado by Attorney General Philip J. Weiser, who is the chief legal



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  counsel of the State of Colorado, empowered to prosecute and defend all
  actions in which the state is a party. Colo. Rev. Stat. § 24-31-101(1)(a).

        12.   Plaintiff Jena Griswold is Colorado Secretary of State and the
  “chief state election official.” Colo. Rev. Stat. § 1-1.5-101(1)(h). Among
  other duties, Secretary Griswold “is the state official responsible for
  implementing . . . the state’s responsibilities under the federal
  ‘Uniformed and Overseas Citizens Absentee Voting Act,’ 52 U.S.C. sec.
  20301 et seq.” Colo. Rev. Stat. § 1-8.3-104.

        13.   Defendant Louis DeJoy is the Postmaster General. He is sued
  in his official capacity.
        14.   Defendant United States Postal Service is an independent
  agency of the executive branch of the United States government.
        15.   Defendant Samarn S. Reed is the Denver, Colorado
  Postmaster. He is sued in his official capacity.
        16.   Defendant Chris J. Yazzie is the Albuquerque, New Mexico
  Postmaster. He is sued in his official capacity. Mail sent to voters who
  reside in Durango and Cortez, Colorado is routed through Albuquerque,
  New Mexico mail facilities.




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                                    CLAIM I

                     Violation of the Elections Clause

        17.   Plaintiff realleges the foregoing allegations as if fully set forth
  herein.
        18.   The Elections Clause, Article I section 4 of the United States

  Constitution states “The Times, Places and Manner of holding Elections
  for Senators and Representatives, shall be prescribed in each State by
  the Legislature thereof...”

        19.   By providing false information about the manner of
  Colorado’s elections—stating that voters must request a ballot 15 days
  prior to the election and recommending that voters mail a ballot 7 days

  before Election Day—Defendants interfere with the “Times, Places and
  Manner of holding Elections” which the Constitution allocates to
  Colorado, not the Postal Service.

        20.   The Postal Service statements are incorrect in several
  material ways: Colorado voters do not need to request a ballot at any
  time; if a ballot is lost for whatever reason, a Colorado voter can request

  a replacement ballot at any time or vote in person; and voters need not
  use the mail to return their ballots as they may vote in person or place
  them in numerous drop-boxes.


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        21.     Defendants’ false statements violate Colorado’s constitutional
  rights to establishing the “Times, Places and Manner of holding

  Elections.”

                                     CLAIM II

                      Violation of the Tenth Amendment

        22.     Plaintiff realleges the foregoing allegations as if fully set forth
  herein.
        23.     The Tenth Amendment provides that “[t]he powers not
  delegated to the United States by the Constitution, nor prohibited by it
  to the States, are reserved to the States respectively, or to the people.”
  Through this amendment, the Framers intended the States to “keep for
  themselves. . . the power to regulate elections.” Gregory v. Ashcroft, 501
  U.S. 452, 461-62 (1991).
        24.     Defendants’ misstatements interfere with Colorado’s power to
  regulate elections and therefore deprives Colorado’s constitutional rights
  to regulate state elections and determine the manner in which state
  officers will be chosen. Defendants’ actions thus impermissibly interfere

  with the reserved authority of States and thereby violate the Tenth
  Amendment.



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          25.   Specifically, Defendants’ instruction to Colorado voters to
  “Request your mail-in ballot (often called absentee ballot) at least 15 days

  before Election Day” is incorrect and will cause Colorado voters to
  wrongly believe they must request a ballot in order to participate in this
  election. Under Colorado law, all registered voters receive ballots in the
  mail.
          26.   In addition, voters who do not receive a ballot due to typical
  mishandling or errors in the mail or who misplace the ballot they receive

  will wrongly believe that because they did not request a ballot at least 15
  days before the election they cannot vote in this election. In fact, Colorado
  voters can vote in person on election day or request a replacement ballot
  at any time prior to the election. Defendants’ false statements will
  prevent eligible Colorado voters from participating in this election.
          27.   In addition, this incorrect instruction will result in a
  significant increase in questions posed to Colorado election officials by
  voters, taking time away from administering the election and
  unnecessarily burdening Colorado’s election officials.
          28.   Defendants’ actions will cause imminent, irreparable harm to
  the States’ ability to regulate state and local elections for officers and
  ballot initiatives, including proposed constitutional amendments.


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                                    CLAIM III

               Violation of the Constitutional Right to Vote

        29.    Plaintiff realleges the foregoing allegations as if fully set forth
   herein.
        30.    The United States Constitution guarantees that “all qualified

   voters have a constitutionally protected right to vote . . . and to have their
   votes counted.” Reynolds v. Sims, 377 U.S. 533, 554 (1964).
         31.   This right arises from multiple constitutional provisions,

   including (1) Article I, section 2, clause 1, which provides that members
   of the United States House of Representatives are “chosen . . . by the
   People of the several States”; (2) Article IV, section 2, clause 1, which

   provides that “[t]he Citizens of each State shall be entitled to all
   Privileges and Immunities of Citizens in the several States,” and,
   therefore, the right to vote for national officers is a right and privilege of

   national citizenship that is protected by article IV, section 2, clause 1;
   and (3) the Seventeenth Amendment which provides that United States
   Senators are “elected by the People of” each State.

         32.   By wrongly stating that Colorado voters must request a ballot
   in order to participate in this election, that certain deadlines apply to
   requesting or mailing ballots, that voters cannot receive a replacement
   ballot or vote in person, and that voters should use the Postal Service to
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   return ballots, Defendants’ actions interfere with the ability of residents
   of Colorado to timely receive and return ballots and have their votes

   counted, thereby burdening the right to vote of residents of the Plaintiff
   States.
        33.   Defendants’     actions    also   interfere    with   Colorado’s
   constitutional interests in choosing the method of electing national
   officers that respects this constitutional right to vote. Colorado has an
   interest in conducting elections, under its Constitutional authority, that

   honor this constitutional right of their residents. In addition, Colorado
   has selected methods for state elections that frequently follow the
   procedures used for selecting national offices, which would be similarly
   interfered with by Defendants and Colorado has an interest in the state
   elections allowing for their residents to exercise their right to vote. These
   state interests are separate and in addition to Colorado residents’
   interests in their constitutional right to vote.
        34.   Defendants’ actions are not supported by any interest that
   justifies this serious burden on the right to vote.
        35.   Defendants’ actions thus violate the right to vote guaranteed
   by the United States Constitution and Colorado’s interest in having
   elections that respect that right to vote.


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                                    CLAIM IV

                        Violation of 52 U.S.C. § 10101
         36.   Plaintiff realleges the foregoing allegations as if fully set forth
   herein.
         37.   52 U.S.C. § 10101(b) states “No person, whether acting under
   color of law or otherwise, shall intimidate, threaten, coerce, or attempt to
   intimidate, threaten, or coerce any other person for the purpose of
   interfering with the right of such other person to vote or to vote as he
   may choose, or of causing such other person to vote for, or not to vote for,
   any candidate for the office of President, Vice President, presidential
   elector, Member of the Senate, or Member of the House of
   Representatives, Delegates or Commissioners from the Territories or
   possessions, at any general, special, or primary election held solely or in
   part for the purpose of selecting or electing any such candidate.”
         38.   52 U.S.C., §20510(b) provides a private right of action to any
   person “aggrieved by a violation of [Chapter 52 of the US Code].”
         39.   Defendants’ false statements about Colorado law violate

   section 10101(b) by intimidating, coercing, attempting to intimidate,
   and/or attempting to coerce Colorado voters not to vote in the upcoming
   election.



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        40.   Some Colorado voters who would otherwise vote under the
   guidance of Colorado election officials will be confused by the false

   statements by the Postal Service and will not vote in the upcoming
   elections because 1) they falsely believe they must request a ballot to
   participate; 2) they wrongly think that if they did not receive a ballot they
   may not vote because they did not request one 15 days prior to the
   election; or 3) they erroneously believe that they must mail their ballot
   back 7 days prior to the election when, in fact, they can vote in person on

   election day and, throughout the state, deliver their voted ballot to a
   drop-box or voter service and polling center staffed by local election
   officials without using the Postal Service.
        41.   Defendants’ actions therefore violate 52 U.S.C. §10101 and
   Colorado and the Secretary have authority to stop this violation.

                                    CLAIM V

      Violation of the Uniformed and Overseas Citizens Absentee
                    Voting Act, 52 U.S.C. § 20302(a)(1)

        42.   Plaintiff realleges the foregoing allegations as if fully set forth
   herein.
        43.   The federal Uniformed and Overseas Citizens Absentee
   Voting Act (“the Overseas Voting Act”) guarantees absent uniformed
   services voters and overseas voters the right to vote by absentee ballot in
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   general, special, primary, and runoff elections for federal office. 52 U.S.C.
   § 20302(a)(1).

        44.   Colorado has adopted the Overseas Voting Act within its
   Election Code. See Colo. Rev. Stat. § 1-8.3-101, et seq.
        45.   Secretary Griswold “is the state official responsible for

   implementing this article and the state's responsibilities under the
   federal ‘Uniformed and Overseas Citizens Absentee Voting Act’, 52
   U.S.C. sec. 20301 et seq.” Colo. Rev. Stat. § 1-8.3-104(1).

        46.   The Overseas Voting Act requires states to, among other
   things, “permit absent uniformed services voters and overseas voters . . .
   to vote by absentee ballot” and to “establish procedures” for providing
   absentee ballot forms to such voters. 52 U.S.C. § 20302(a)(1), (6).
        47.   The federal law, and the implementing state law, permit
   absent uniformed services voters and overseas voters to receive and
   return their ballots by electronic means. 52 U.S.C. § 20302(e); C.R.S. § 1-
   8.3-113.
        48.   Some of the Postal Services’ notices are likely to be mailed to

   voters who will be voting pursuant to the procedures established by the
   Overseas Voting Act. In addition, family members and loved ones of those
   voting in Colorado pursuant to the Overseas Voting Act will be receiving

   these notices.
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        49.    Some Colorado voters who are absent uniformed services
   voters and overseas voters and who would otherwise vote under the

   guidance of Colorado election officials will be confused by the false
   statements by the Postal Service and will not vote in the upcoming
   elections because 1) they falsely believe they must request a ballot to
   participate; 2) they wrongly think that if they did not receive a ballot they
   may not vote because they did not request one 15 days prior to the
   election; or 3) they erroneously believe that they must mail their ballot

   back 7 days prior to the election when, in fact, they can vote by electronic
   means without using the Postal Service.

                           PRAYER FOR RELIEF

        Plaintiffs request that the Court enter judgment against

   Defendants and award the following relief:

        1.     Issue a Temporary Restraining Order and/or injunction

   prohibiting Defendants from delivering the official notice to any

   Colorado voter;

        2.     Award the Plaintiffs their costs and reasonable attorneys’

   fees; and




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        3.        Award such additional relief as the interests of justice

   may require.

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